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 VICKY PAULY                                   )

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 THE UNITED STATES,                            )

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                        Defendant.             )
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                                     OPINION AND ORDER

SMITH, Senior Judge

         On July 26,2018, plaintiff; proceeding pro se, filed her Complaint with this Court.
Plaintiffls Complaint alleges, inter alia, that a New York state court judge failed to issue a
restraining order, which caused plaintiff harm. Complaint (hereinafter "Compl.") at A-5.
Plaintiff seeks money damages in the amount of $6 million. Id. at A-7. On September 24,2018,
defendant filed its Motion to Dismiss pursuant to Rule l2(bX1) of the Rules of the Court of
Federal Claims ("RCFC"). See generallyDefendant's Motion to Dismiss. For the following
reasons, the Court grants defendant's Motion to Dismiss.

I.     Background

        In her Complaint, Ms. Pauly alleges a New York state court judge denied plaintiff s right
to protect herself by denying her requested restraining order, which caused the alleged harm. See
generally Compl. Defendant filed its Motion to Dismiss for lack of subject-matter jurisdiction
pursuant to RCFC 12(bX1), arguing that the Court lacks jurisdiction to hear plaintiff s Complaint
because this Court does not possess jurisdiction to review the decisions of state courts, and Ms.
Pauly's claims fall outside this Court's jurisdiction granted by the Tucker Act. See generally
Defendant's Motion to Dismiss. On December 10, 2}79,plaintiff filed her Response to
defendant's Motion to Dismiss. See generallyPlaintiff s Response to defendant's Motion to
Dismiss (hereinafter "Pl.'s Resp.").

        In her Response, Ms. Pauly states, inter alia, that, absent the restraining order, plaintiff
suffered various forms of harm, including threats, stalking, harassment, abuse, and physical
injuries. Pl.'s Resp. at 1,2. Plaintiff also states that her home was entered without permission
and her Constitutional rights were violated. Id. Plaintiff seeks $6 million in damages. Compl. at
A-7.
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       Defendant filed its Reply in support of its Motion to Dismiss on December 26,2018.
This case is fully briefed and ripe for review. After careful consideration, the government's
Motion to Dismiss is granted, and this case is dismissed for lack ofjurisdiction, pursuant to
RCFC 12(bX1).

       Standard of Review

        This Court's jurisdictional grant is primarily defined by the Tucker Act, which provides
this Court the power "to render any judgment upon any claim against the United States founded
either upon the Constitution, or any Act of Congress or any regulation of an executive
department, or upon any express or implied contract with the United States . . . in cases not
sounding in tort." 28 U.S.C. $ 1a91(a)(1). Although the Tucker Act expressly waives the
sovereign immunity of the United States against such claims, it "does not create any substantive
right enforceable against the United States for money damages." United States v. Testan,424
U.S. 392, 398 (i976). Rather, in order to fall within the scope of the Tucker Act,"a plaintiff
must identifu a separate source of substantive law that creates the right to money damages."
Fisher v. United States, 402 F.3d 1 167, ll72 (Fed. Cir. 2005) (en banc in relevant part).

         In determining whether subject matter jurisdiction exists, the Court willtreatfactual
allegations in the complaint as true and will construe them in the light most favorable to the
plaintiff. Estes Express Lines v. United States,739 F.3d 689, 692 (Fed. Cir. 2014) (emphasis
added). Further, pleadings from pro se plaintiffs are held to more lenient standards than
pleadings drafted by lawyers . Hughes v. Rowe,449 U.S. 5, 9 (1980); see also Ericluon v.
Pardus, 551 U.S. 89,94 (2007). This leniency, however, does not extend to saving a complaint
that lies outside of this Court's jurisdiction. "Despite this permissive standard, a pro se plaintiff
must still satisfy the court's jurisdictional requirements." Trevino v. United States, I l3 Fed. Cl.
204,208 (2013), affd, 557 F. App'x 995 (Fed. Cir. 2014) (citations omitted). Pro se or not, the
plaintiff still has the burden of establishing by a preponderance of the evidence that this Court
has jurisdiction over its claims. See Kokkonen y. Guardian Life Ins. Co. of Am.,5l I U.S. 375,
371 (ree4).

III.    Discussion

         Ms. Pauly fails to establish by a preponderance of the evidence any claim over which this
Court has jurisdiction. Plaintiff s request for relief appears to be against a New York state judge.
See Compl. at A-5 ("My right to protect myself was denied by Judge Rademacher when I was
denied the requested restraining order causing further harm."). The Tucker Act does not provide
the Court with jurisdiction to adjudicate claims against state-level government officials. 28
U.S.C. $ 1491(a). It is well-established that the United States Court of Federal Claims lacks
'Jurisdiction over any claims alleged against states, localities, state and local government
entities, or state and local goverrrment officials and employees; jurisdiction only extends to suits
against the United States itself." Anderson v. United States,117 Fed. Cl. 330, 331 (2014); Smith
v. United States,99 Fed. Cl. 581, 583-84 (2011). As such, Ms. Pauly's claim against the New
York state judge falls outside of this Court's jurisdiction and must be dismissed.


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        Furthermore, this Court lacks jurisdiction to hear the arguments in plaintiff s Response,
because they sound in tort. See Pl.'s Resp. at 1,2. The Tucker Act explicitly excludes tort
claims from this Court's jurisdiction. "It is well settled that the United States Court of Federal
Claims lacks-and its predecessor the United States Claims Court lacked-jurisdiction to
entertain tort claims ." Shearin v. United States,992F.2d I 195, 1197 (Fed. Cir. 1993); see also
Sellers v. United States, ll0 Fed. Cl. 62, 66 (2013). Accordingly, as the Court lacks
subject-matter jurisdiction over all of plaintiff s claims for relief, defendant's Motion to Dismiss
must be granted.

IV.    Conclusion

        For the reasons set forth in this opinion, defendant's Motion to Dismiss is GRANTED,
and plaintiffls claim is DISMISSED pursuant to RCFC 12(bxl) for lack ofjurisdiction. The
Clerk is hereby directed to enter judgment consistent with this opinion.

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                                                                  Smith, Senior Judge




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